          Case 2:20-cv-01716-LK Document 53 Filed 05/02/22 Page 1 of 10




 1
                                                             THE HONORABLE LAUREN J. KING
 2

 3

 4

 5

 6

 7

 8
                             UNITED STATES DISTRICT COURT
 9                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
10

11   ANDREW BELL and BECKY BELL, husband
     and wife,
12                                                        No. 2:20-cv-01716 LJK
                          Plaintiffs,
13                                                        BOEING’S MOTIONS IN LIMINE
           v.
14                                                        NOTE FOR MOTION CALENDAR
     THE BOEING COMPANY, a Delaware                       May 20, 2022
15   corporation licensed as a Washington foreign
     corporation
16
                          Defendant.
17

18                                      I.   INTRODUCTION

19          Pursuant to the Federal Rules of Evidence (“FRE”) and the Federal Rules of Civil

20   Procedure (“FRCP”), Defendant The Boeing Company (“Boeing” or “Defendant”)

21   respectfully submits these Motions in Limine and requests that the Court enter an order

22   regarding the following issues of evidence:

23
                1. Excluding evidence of correspondence between Boeing employees who are
24                 not decision-makers;

25              2. Excluding evidence of employees’ social media posts; and

26
                                                                                Perkins Coie LLP
     BOEING’S MOTIONS IN LIMINE                                             1201 Third Avenue, Suite 4900
                                                                              Seattle, WA 98101-3099
     (No. 2:20-cv-01716 LJK) – 1                                                Phone: 206.359.8000
                                                                                 Fax: 206.359.9000
          Case 2:20-cv-01716-LK Document 53 Filed 05/02/22 Page 2 of 10




 1
                 3. Excluding evidence related to claims dismissed at summary judgment.
 2
            Evidence concerning these matters is not relevant to the issues in this case and
 3
     should be excluded. Such evidence and any related argument is likely to confuse the jury,
 4
     waste the Court’s time, and unfairly prejudice Boeing.
 5
                                       II.     BACKGROUND
 6
            Boeing offered Plaintiff a job in Auburn, Washington on November 3, 2017.
 7
     Plaintiff, who lived in North Carolina at the time, accepted the job offer, but delayed his
 8
     start date and did not begin working for Boeing until April 2018.
 9
            Although Plaintiff began working on second shift, he was later transferred to third
10
     shift pursuant to a shift load rebalancing process described in the Collective Bargaining
11
     Agreement that governed his role. Rather than move to third shift, Plaintiff requested an
12
     accommodation, claiming he was unable to work at night. When he originally requested an
13
     accommodation, Plaintiff presented a doctor’s note requesting he be excused from working
14
     third shift for unspecified medical reasons. Over the course of the next nine months, Boeing
15
     communicated with Plaintiff and multiple doctors to identify what medical condition, if any,
16
     precluded Plaintiff from working third shift and to find an appropriate accommodation.
17
     Boeing granted Plaintiff a temporary accommodation that allowed him to work on second
18
     shift for thirty days, pending receipt of additional medical information needed to clarify the
19
     extent of his third shift restriction. When no such medical information was received, Boeing
20
     further accommodated Plaintiff by placing him on a medical leave of absence until (1) he
21
     was medically released to work third shift, (2) his medical provider determined he had
22
     permanent restrictions preventing him from working third shift, or (3) he exhausted his leave
23
     benefits.
24

25

26
                                                                                  Perkins Coie LLP
     BOEING’S MOTIONS IN LIMINE                                               1201 Third Avenue, Suite 4900
                                                                                Seattle, WA 98101-3099
     (No. 2:20-cv-01716 LJK) – 2                                                  Phone: 206.359.8000
                                                                                   Fax: 206.359.9000
          Case 2:20-cv-01716-LK Document 53 Filed 05/02/22 Page 3 of 10




 1
             When Plaintiff’s leave benefits ran out in February 2019, he had still not provided
 2
     Boeing with sufficient documentation to support his need for the requested accommodation.
 3
     In July 2018, his doctor in Washington concluded she did not “have a clinical reason for
 4
     [Plaintiff] to not be able to work a 3rd shift” because his workup was “negative so far,” and
 5
     referred him to a specialist. Dkt. No. 18-1 at 205. In November 2018, his sleep specialist
 6
     determined that if his HLA test was negative, it would confirm her initial diagnosis that
 7
     “would not affect [Plaintiff’s] employability or shift work capacity.” Id. at 236. Bell failed to
 8
     provide any medical documentation after November 2018. When Boeing contacted Plaintiff
 9
     in March 2019, he confirmed he had no intention of returning to work in Washington. As a
10
     result, Plaintiff’s employment was terminated for job abandonment effective March 23,
11
     2019.
12
             Plaintiff filed this lawsuit on August 13, 2020, alleging wrongful termination in
13
     violation of public policy; failure to accommodate, disability discrimination, and retaliation
14
     in violation of the Washington Law Against Discrimination (“WLAD”); breach of contract;
15
     and seeking a declaration of rights under his relocation repayment contract. Dkt. # 1-2 at 5-
16
     7. This court granted in part Boeing’s Motion for Summary Judgment, dismissing all but
17
     Plaintiff’s failure to accommodate claim. See Dkt. # 51.
18

19                III.    CERTIFICATION OF CONFERENCE OF COUNSEL
             On March 28, 2022, counsel held a telephonic conference in a good faith effort to
20
     resolve the evidentiary issues remaining for trial. The parties did not reach agreement on the
21
     issues set forth in the following motions in limine. 1
22

23
             1
24           The parties did agree generally that evidence related to claims dismissed on summary
     judgment should be excluded but that was prior to receiving the Court’s order ruling on the summary
25   judgment motions.

26
                                                                                     Perkins Coie LLP
     BOEING’S MOTIONS IN LIMINE                                                  1201 Third Avenue, Suite 4900
                                                                                   Seattle, WA 98101-3099
     (No. 2:20-cv-01716 LJK) – 3                                                     Phone: 206.359.8000
                                                                                      Fax: 206.359.9000
            Case 2:20-cv-01716-LK Document 53 Filed 05/02/22 Page 4 of 10




 1
                                       IV.     MOTIONS IN LIMINE
 2
     A.      Standards Governing Relevance and Admissibility Under Rules 401-403
 3
             Evidence is admissible only if it is relevant. FRE 402. “Relevant evidence” is
 4
     evidence having “any tendency to make a fact more or less probable than it would be
 5
     without the evidence” and evidence that “is of consequence in determining the action.” FRE
 6
     401.
 7
             Even if evidence is somehow minimally relevant to the determination of matters at
 8
     issue in this action, it may nonetheless be excluded under Rule 403 “if its probative value is
 9
     substantially outweighed by a danger of . . . unfair prejudice, confusing the issues,
10
     misleading the jury, undue delay, wasting time, or needlessly presenting cumulative
11
     evidence.” FRE 403. “[U]nfair prejudice” under Rule 403 means “an undue tendency to
12
     suggest decision on an improper basis.” Dream Games of Ariz., Inc. v. PC Onsite, 561 F.3d
13
     983, 993 (9th Cir. 2009) (internal quotation marks omitted). It is difficult, if not impossible,
14
     to limit the jury’s improper use of such evidence through jury instructions. 2
15
     B.      The Court Should Preclude Evidence, Testimony, or Argument Regarding E-
16           Mail Correspondence Between Individuals Who Did Not Make Decisions
             Related to Plaintiff’s Leave
17
             Plaintiff should be precluded from offering evidence and argument related to certain
18
     email exchanges between Boeing employees after Plaintiff went on leave. The Reed group,
19
     Boeing’s third party leave administrator, made the determination that the medical
20
     information Plaintiff provided did not support further leave. In briefing the summary
21
     2
22     Cf. Annis v. Cnty. of Westchester, 136 F.3d 239, 247 (2d Cir. 1998) (after admission of allegations
     predating the limitations period, “the well had been poisoned and, despite the court’s best efforts,
23   there was no way to decontaminate it”); Kinan v. Brockton, 876 F.2d 1029, 1033-34 (1st Cir. 1989)
     (evidence of prior judgments against defendant in other actions held inadmissible due to prejudicial
24   effect); Moorhouse v. Boeing Co., 501 F. Supp. 390, 393 (E.D. Pa.) (“[E]ven the strongest jury
     instructions [cannot] . . . dull[] the impact” of a jury hearing evidence of other bad acts), aff’d, 639
25   F.2d 774 (3d Cir. 1980).

26
                                                                                          Perkins Coie LLP
     BOEING’S MOTIONS IN LIMINE                                                       1201 Third Avenue, Suite 4900
                                                                                        Seattle, WA 98101-3099
     (No. 2:20-cv-01716 LJK) – 4                                                          Phone: 206.359.8000
                                                                                           Fax: 206.359.9000
          Case 2:20-cv-01716-LK Document 53 Filed 05/02/22 Page 5 of 10




 1
     judgment motions in this case, Plaintiff cited e-mail correspondence between manufacturing
 2
     managers who were not involved in and did not have authority to make decisions regarding
 3
     Plaintiff’s leave. Correspondence between these individuals is irrelevant to Plaintiff’s claim
 4
     the Company failed to accommodate him.
 5
            More to the point, this Court has already found Plaintiff’s “reliance on internal
 6
     Boeing emails … unavailing” in the context of the claims for which the emails were offered
 7
     as evidence. Dkt. #51 at 26-27. The Court dismissed Plaintiff’s wrongful termination and
 8
     disparate treatment claims, and the emails are even less relevant to Plaintiff’s sole remaining
 9
     failure to accommodate claim. As the Court explained in its April 20, 2022 Order, the issue
10
     in this case is “whether Boeing’s use of unpaid medical leave was an ‘adequate’ …
11
     accommodation in the circumstances of this case.” Dkt. #51 at 22. Managers’ sentiments
12
     toward Plaintiff—particularly where the record does not “suggest that discriminatory animus
13
     towards Bell’s sleep disorder played a substantial role in Boeing’s decision to place him on
14
     unpaid medical leave”—are irrelevant to the claim in this case. See Dkt. #51 at 27 (internal
15
     quotation marks omitted).
16
            This is particularly true where, as here, the third-party employees who expressed
17
     negative opinions about Plaintiff were not decisionmakers with respect to the complained-of
18
     decision. Cf. e.g., Price Waterhouse v. Hopkins, 490 U.S. 228, 277 (1989) (O’Connor, J.)
19
     (concurring) (finding statements by non-decision makers insufficient to establish
20
     discriminatory intent); Boyd v. DSHS, 187 Wash. App. 1, 18 (2015) (evidence of
21
     supervisor’s biased actions or comments irrelevant if “adverse employment action is
22
     unrelated to the supervisor’s original biased action”) (citing Staub v. Proctor Hosp.,
23
     562 U.S. 411 (2011)); Figures v. Bd. of Pub. Utils., 967 F.2d 357, 361 (10th Cir. 1992)
24
     (affirming trial court’s exclusion of evidence of discriminatory comments because plaintiff
25

26
                                                                                  Perkins Coie LLP
     BOEING’S MOTIONS IN LIMINE                                               1201 Third Avenue, Suite 4900
                                                                                Seattle, WA 98101-3099
     (No. 2:20-cv-01716 LJK) – 5                                                  Phone: 206.359.8000
                                                                                   Fax: 206.359.9000
          Case 2:20-cv-01716-LK Document 53 Filed 05/02/22 Page 6 of 10




 1
     could not link those comments to adverse employment action). Emails between individuals
 2
     who were not decision makers with respect to Plaintiff’s leave should thus be excluded
 3
     under FRE 401.
 4

 5   C.     The Court Should Preclude Evidence, Testimony, or Argument Regarding
            Employees’ Social Media Posts
 6          Argument and evidence related to Boeing employees’ social media posts unrelated to
 7   Plaintiff should be excluded because it is irrelevant, has the potential to waste the Court’s
 8   time, and unfairly prejudices Defendant.
 9          Evidence is relevant only when it tends to make a fact that is of consequence in
10   determining the action more or less probable. See FRE 401. During a deposition in this
11   action, Plaintiff’s counsel introduced as exhibits personal social media posts of a Boeing
12   employee that are unrelated to Plaintiff’s remaining failure to accommodate claim. None of
13   the posts referenced Plaintiff, Defendant, disability (Plaintiff’s alleged disability specifically
14   or disabilities generally), or accommodations. Plainly, social media posts that do not
15   reference Plaintiff, Defendant, or any of the issues and facts central to this case cannot tend
16   to make a fact in this litigation more or less probable. The posts’ relevance is further
17   diminished now that Plaintiff’s only remaining claim relates to Boeing’s alleged failure to
18   accommodate his disability. Indeed, this court found “only that Bell has created a triable
19   issue of fact as to whether Boeing’s use of unpaid medical leave was an ‘adequate’ …
20   accommodation in the circumstances of this case.” Dkt. # 51 at 22. Social media posts
21   unrelated to Plaintiff or Boeing have no bearing on the answer to that question. Such social
22   media posts (and any testimony or argument based on them) should therefore be excluded.
23          The only reason Plaintiff would introduce social media posts at trial is to infect the
24   jury’s perception of Boeing employees. Evidence that is offered only to inflame the jury is
25

26
                                                                                    Perkins Coie LLP
     BOEING’S MOTIONS IN LIMINE                                                 1201 Third Avenue, Suite 4900
                                                                                  Seattle, WA 98101-3099
     (No. 2:20-cv-01716 LJK) – 6                                                    Phone: 206.359.8000
                                                                                     Fax: 206.359.9000
          Case 2:20-cv-01716-LK Document 53 Filed 05/02/22 Page 7 of 10




 1
     regularly found to be “more unfairly prejudicial than probative and, therefore, not
 2
     admissible under a Rule 403 balancing analysis.” Point Ruston, LLC v. Pac. Nw. Reg’l
 3
     Council of the United Bhd. of Carpenters & Joiners of Am., No. C09-5232BHS, 2010 WL
 4
     3720277, at *1 (W.D. Wash. Sept. 17, 2010) (excluding evidence of criminal and corrupt
 5
     behavior where the case did not involve criminal or corruption charges). Evidence of social
 6
     media posts should thus be excluded because any probative value (and Defendant maintains
 7
     the posts have no probative value) is outweighed by the material’s potential to unfairly
 8
     prejudice Defendant.
 9

10   D.     The Court Should Preclude Evidence, Testimony, or Argument Regarding Any
            Claims Dismissed at Summary Judgment
11          Plaintiff should be precluded from presenting evidence related to any claims
12   dismissed at summary judgment. On April 20, 2022, the Court granted in part Defendant’s
13   Motion for Summary Judgment, dismissing Plaintiff’s claims for discriminatory discharge,
14   disparate treatment, retaliation, wrongful termination in violation of public policy, breach of
15   contract, promissory estoppel, and declaratory judgment of rights under a contract. Dkt. #51
16   at 39. Evidence that is only relevant to previously dismissed claims is routinely excluded
17   from trial. See, e.g., Martino v. Kiewit N.M. Corp., 600 Fed. App’x 908, 913 (5th Cir. 2015)
18   (affirming exclusion of evidence related to claims dismissed at summary judgment); see also
19   Spradlin Rock Prods., Inc. v. Pub. Util. Dist. No. 1 of Grays Harbor Cnty., 164 Wn. App.
20   641, 662 (2011) (interpreting identical state rule of evidence to mean once a court decides an
21   issue at summary judgment, evidence contradicting the court’s determination is “properly
22   excluded” from trial “as being irrelevant” under Rule 402). Any evidence that relates only to
23   claims dismissed at summary judgment should thus be excluded as irrelevant under FRE 401
24   and 402.
25

26
                                                                                  Perkins Coie LLP
     BOEING’S MOTIONS IN LIMINE                                               1201 Third Avenue, Suite 4900
                                                                                Seattle, WA 98101-3099
     (No. 2:20-cv-01716 LJK) – 7                                                  Phone: 206.359.8000
                                                                                   Fax: 206.359.9000
          Case 2:20-cv-01716-LK Document 53 Filed 05/02/22 Page 8 of 10




 1
            Evidence related to Plaintiff’s dismissed claims should be excluded for the separate
 2
     reason that its introduction is highly likely to confuse the issues, waste the court’s time, and
 3
     mislead the jury. See FRE 403; see, e.g., Morgan v. City of Pleasant Hill, 268 Fed. App’x
 4
     686, 687 (9th Cir. 2008) (holding district court did not err in excluding evidence that “could
 5
     have confused the issues and indirectly invited the jury to re-litigate the excessive force
 6
     claim, which was dismissed in summary judgment”); Selliken v. Country Mut. Ins. Co., NO:
 7
     12-CV-05150TOR, 2014 WL 12634309, at *4 (E.D. Wash. Jan. 21, 2014) (excluding
 8
     exhibit concerning claims that were dismissed at summary judgment because it was likely to
 9
     “confuse the jury [and] prejudice Defendant”). The sole remaining claim at issue centers on
10
     Boeing’s alleged failure to accommodate Plaintiff’s disability. Discussion of Plaintiff’s
11
     termination, the circumstances of his hiring, alleged promises related to shift assignment,
12
     and any alleged discrimination against Plaintiff on the basis of his disability unnecessarily
13
     muddy the waters in what can otherwise be a straightforward adjudication of whether
14
     Boeing’s decision to place Plaintiff on medical leave was a reasonable accommodation
15
     under the circumstances. Failure to accommodate claims are narrowly focused on the
16
     question of whether an employer met its obligations to accommodate under the WLAD.
17
     Evidence unrelated to that inquiry (but related to Plaintiff’s already dismissed claims)
18
     should not be admitted.
19

20                                      V.      CONCLUSION

21          For the reasons stated above, Boeing respectfully requests that the Court issue an

22   order prohibiting Plaintiff from introducing any evidence or argument at trial concerning the

23   issues identified above.

24

25

26
                                                                                   Perkins Coie LLP
     BOEING’S MOTIONS IN LIMINE                                                1201 Third Avenue, Suite 4900
                                                                                 Seattle, WA 98101-3099
     (No. 2:20-cv-01716 LJK) – 8                                                   Phone: 206.359.8000
                                                                                    Fax: 206.359.9000
         Case 2:20-cv-01716-LK Document 53 Filed 05/02/22 Page 9 of 10




 1

 2   DATED: May 2, 2022                    By: s/ Julie S. Lucht
 3                                         Julie S. Lucht WSBA No. 31278
                                           Margo S. Jasukaitis, WSBA No. 57045
 4                                         Attorneys for Defendant The Boeing Company
                                           Perkins Coie LLP
 5                                         1201 Third Avenue, Suite 4900
                                           Seattle, WA 98101-3099
 6                                         Telephone: 206.359.8000
                                           Facsimile: 206.359.9000
 7                                         Email: JLucht@perkinscoie.com
                                                    MJasukaitis@perkinscoie.com
 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
                                                                   Perkins Coie LLP
     BOEING’S MOTIONS IN LIMINE                                1201 Third Avenue, Suite 4900
                                                                 Seattle, WA 98101-3099
     (No. 2:20-cv-01716 LJK) – 9                                   Phone: 206.359.8000
                                                                    Fax: 206.359.9000
         Case 2:20-cv-01716-LK Document 53 Filed 05/02/22 Page 10 of 10




 1
                                      CERTIFICATE OF SERVICE
 2

 3          On May 2, 2022, I caused to be served upon the following, at the address stated
 4   below, via the method of service indicated, a true and correct copy of the foregoing
 5   document.
 6       J. Roderik Stephens, WSBA #14538                     Via Hand Delivery
         The Stephens Law Firm                                Via U.S. Mail, 1st Class,
 7
         424 29th St. NE, Suite G Office C                    Postage Prepaid
 8       Puyallup, WA 98372                            X      Via E-Filing
         (253) 863-2525                                       Via Overnight Delivery
 9       Rod@stephenslawfirm.com                              Via Facsimile
         kathryn@stephenslawfirm.com                          Via Email
10       Attorneys for Plaintiff
11          I certify under penalty of perjury under the laws of the State of Washington that the
12   foregoing is true and correct.
13
            EXECUTED at Dublin, California on May 2, 2022.
14

15                                                s/ KC Davis
                                                  KC Davis, Legal Practice Assistant
16

17

18

19

20

21

22

23

24

25

26
                                                                                 Perkins Coie LLP
     CERTIFICATE OF SERVICE                                                  1201 Third Avenue, Suite 4900
                                                                               Seattle, WA 98101-3099
     (No. 2:20-cv-01716 LJK) – 1                                                 Phone: 206.359.8000
                                                                                  Fax: 206.359.9000
